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AO G1 (Rev. T/L) Criminal Complaint SEALED

 

 

 

 

. United States Courts
UNITED STATES DISTRICT COURT Southem Distt of Texas
for the ;
Southern District of Texas MAR 1.6 2020
United States of America y David J. Bradley, Clerk of Court
v. )
) Case No. (7 -20-F4LmM
Liza Lee DIAZ 5
. )
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 1-1-2020 to 1-31-2020 in the county of Nueces in the
__Southemn __—-Districtof Texas __ . the defendant(s) violated:
Code Section Offense Description
21 U.S.C. § 846 Conspiracy to possess with the intent to distribute a controlled substance in

Schedule I! of the Controlled Substance Act of 1970, to wit; more than 500
grams of a mixture or substance containing methamphetamine.

This criminal complaint is based on these facts:

See Attachment A

@ Continued on the attached sheet.

hg — fop—

7 0 Comptietint’s PORTE
Ryan Boyce, Special Agent

 

Printed name and tile

   

Submitted by reliable electronic means, sworn to,
Signature attested telephonically per Fed. R. Crim.P.41. and probable cause fo

Date: = [ 6 - AC Ol

 

Printed name and title

 

 
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DIAZ, Liza Lee

On January 30, 2020, Texas Department:of Public Safety (TXDPS) Trooper Clayton Trimm conducted a.
traffic’ stop on a 2010 Ford pickup: truck operated by Liza DIAZ (hereinafter L. DIAZ) for failing to stop
at a posted stop sign at the intersection of Pine Street and Shawnee Street in Corpus. Christi, Texas.
During'the course of the traffic stop; TXDPS Trooper Trimm smelled a strong odor of marijuana
emanating from the vehicle, A subsequent probable-cause search of L. DIAZ’s vehicle revealed there to
bé'heroin inside the vehicle, as well as.on:-L. DIAZ’s person. L. DIAZ and two (2) other occupants.
inside the vehicle were:subsequently arrested for Possession of Controlled ‘Substance more than one (1)
‘gram but less than four (4) grams (state). Two (2) cellular telephones were subsequently seized from _L.
‘DIAZ-on this day.

Following the arrest, TXDPS agents conducted a post-arrest interview of one of the occupants in L.
DIAZ’s vehicle (hereinafter referred to as cooperating defendant). During this post-arrest interview, the.
cooperating defendant'stated that L. DIAZ was a supplier of heroin and methamphetamine, The
cooperating defendant continued to state that‘L. DIAZ was going to be receiving a- parcel in the ‘mail
containing one (1) or'two (2) kilograms of heroin and methamphetamine. The cooperating: defendant
Stated that the parcel would becoming from the Phoenix, Arizona, area. The cooperating defendant
stated that. L, DIAZ’s cellular telephone contained a plethora of information with respect to the
‘trafficking of narcotics.. The cooperating defendant stated that L. DIAZ’s source of supply is savéd in L.
‘DIAZ’s cellular telephone under the contact “Mexico”.

On January 31, 2020, TXDPS Special Agent (SA) Blake Chapman secured a state search warrant for
one-of L, DIAZ’s seized ¢ellular telephones out of the 319th District:in Nueces‘ County, Texas. A quick
search of L..DIAZ’s cellular telephone revealéd WhatsApp.conversatioris between L. DIAZ and a
contact saved as “Mexico”. The conversations disciissed narcotics being shipped from. Arizona to
Corpits Christi, Texas. Ot January 31,2020, the “Mexiéo” contact provided a photograph ofa UPS
tracking number to L... DIAZ and stated that'the. parcel should be arriving on. Monday, February 3, 2020.
‘This WhatsApp text message string corroborated the statements of the aforementioned cooperating
defendant.

Oni the same date, agents intercepted the aforementioned UPS Parcel, which. was identified by the

was intercepted in San Antonio, Texas. The parcel was s destined for Corpus Christi; Texas. On the same
date, following a positive canine alert on the parcel for the’presence of narcotic odor emanating from the’
parcel, DEA Task Force Officer (TFO) Janelle Vallée’secured a state search warrant in Bexar County,
Texas, to:search the parcel, A Subsequent search of the parcel by DEA San Antonio.and Sari. Antonio
Police Department (SAPD). agents/officers revealed the parcel. contained approximately 1.9 kilograms
(gross weight) of. Suspected methamphetamine. SA Boyce knows, based on the:cooperating defendant
andthe WhatsApp communication found in L.. DIAZ’s cellular telephone, that it was L.. DIAZ who
ordered.and was expecting’ this 1.9 kilograms (gross weight) of methamphetamine to arrive to her (L-
DIAZ) i in Corpus Christi, Texas. SA Boyce notes that as. recently as January 29, 2020, the contact
“Mexico” i in the, seized: cellular telephone refers to the individual he/she eC’ Mexico")t is talking t¢ to on

 
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seized on January 31, 2020, containing approximately |.9 kilograms (gross weight) of
methamphetamine.

On March 15, 2020, DEA Special Agent Ryan Boyce contacted Assistant United States Attorney
(AUSA) Lance Watt who authorized federal prosecution of Liza DIAZ for methamphetamine
conspiracy.

From the amount of tangible methamphetamine seized [more than 500 grams of a mixture or
substance containing methamphetamine]; I infer that the methamphetamine was intended for
distribution.

 

Ryat Bd¥ce, Special Agent

Drug Enforcement Administration

     

 

Aflsa, 4
Jah B. Libby
nited States Magistrate Judge

 
